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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                               WESTERN DIVISION


 UNITED STATES OF AMERICA,                             5:14-CR-50048-KES

                    Plaintiff,
                                               ORDER ON MOTION TO DISMISS
       vs.                                     COUNTS, MOTION FOR BILL OF
                                              PARTICULARS, MOTION TO SEVER
 GERALD WAYNE LEBEAU and                      COUNTS, AND MOTION TO SEVER
 NEIL THOMAS LEBEAU,                                  DEFENDANTS

                    Defendants.


        Pending are various pretrial motions filed by defendant Gerald Wayne

  LeBeau.

                                   BACKGROUND

        Defendants Gerald and Neil Thomas LeBeau were indicted on May 20,

  2014, on one count of conspiracy to distribute a controlled substance (cocaine)

  and one count of conspiracy to distribute a controlled substance (marihuana).

  Gerald was also indicted on a separate count alleging possession with intent to

  distribute a controlled substance (cocaine). On August 26, 2014, the

  government filed a superseding indictment charging the three previous counts

  and adding a fourth count charging Gerald with witness tampering.

        Defendants have filed numerous motions. The court now addresses the

  following motions brought by Gerald:

        1.    Gerald’s motion to dismiss counts I, II, and III, or alternatively to
              strike language from those counts (Docket 216).

        2.    Gerald’s motion for a bill of particulars (Docket 222).
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        3.    Gerald’s motion to sever charges (Docket 229).

        4.    Gerald’s motion to sever defendants (Docket 232).

        5.    Gerald’s supplemental motion to dismiss (Docket 290).

  I.    Motion to Dismiss Counts

        Gerald requests that the court dismiss counts I, II, and III. The

  government opposes the motion. Docket 237. For the following reasons, the

  motion to dismiss counts is denied in its entirety.

        A.    Failure to State a Crime

        Gerald argues that counts II and III contain language not found in the

  statute and believes as a consequence the grand jury returned an indictment

  for offenses with elements not found in the statute. Docket 217 at 1-2.

  According to Gerald, because 21 U.S.C. § 846 only refers to a person who

  “conspires” to commit a crime, it is improper for counts II and III of the

  superseding indictment to allege that Gerald “combined, conspired,

  confederated, and agreed” to commit a crime.

        “ ‘An indictment is sufficient if it contains all of the essential elements of

  the offense charged, fairly informs the defendant of the charges against which

  he must defend, and alleges sufficient information to allow a defendant to plead

  a conviction or acquittal as a bar to a subsequent prosecution.’ ” United States

  v. Huggans, 650 F.3d 1210, 1217 (8th Cir. 2011) (quoting United States v.

  Summers, 137 F.3d 597, 601 (8th Cir. 1998)). An indictment is sufficient

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  unless it “is so defective that it cannot be said, by any reasonable construction,

  to charge the offense” in question. Id.

        Gerald cites United States v. Zangger, 848 F.2d 923 (8th Cir. 1988), for

  the proposition that the extra language in counts II and III requires dismissal of

  those counts. Zangger does not support this proposition. Instead, Zangger

  merely reiterated that if an indictment is missing an essential element of the

  crime charged, it must be dismissed. Id. at 925 (dismissing an indictment that

  did not contain the essential element of obscenity). The Eighth Circuit Court of

  Appeals has repeatedly approved the language Gerald challenges here. See

  Huggans, 650 F.3d at 1218 n.3; United States v. White, 241 F.3d 1015, 1021

  (8th Cir. 2001) (“Reasonably construed, the words ‘combined, conspired,

  confederated, and agreed’ adequately set forth the charge of conspiracy,

  especially combined with the references to 21 U.S.C. §§ 846 and 841(a)(1).”). An

  indictment need not use a particular wording so long as it contains all the

  essential elements of the crime charged. See White, 241 F.3d at 1021. Thus,

  counts II and III of the superseding indictment sufficiently state a crime.

        B.    Duplicitous Counts

        Gerald next argues that both counts II and III are duplicitous “because

  they charge in one count both the crime of distributing and possession with

  intent to distribute, two separate offenses[.]” Docket 217 at 2. Duplicitous

  charging must be avoided because a verdict of guilty on a single count will not

  reveal whether the jury found the defendant guilty of both crimes or only one of
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  the two. In this case, both crimes charged are violations of 21 U.S.C.

  § 841(a)(1). “Where . . . the statute specifies two or more ways in which one

  offense may be committed, all may be alleged in the conjunctive in one count of

  the indictment, and proof of any one of the methods will sustain a conviction.”

  Gerberding v. United States, 471 F.2d 55, 59 (8th Cir. 1973). Because the

  charged offense of conspiracy to violate § 841(a) can be committed by

  conspiring to either distribute or possess with intent to distribute, counts II

  and III of the superseding indictment are not duplicitous.

        C.    Violation of Wharton’s Rule

        Gerald next argues that counts II and III violate Wharton’s Rule. Docket

  217 at 2-3. “Wharton’s Rule provides: An agreement by two persons to commit

  a particular crime cannot be prosecuted as a conspiracy when the crime is of

  such a nature as to necessarily require the participation of two persons for its

  commission.” United States v. Jones, 801 F.2d 304, 311 (8th Cir. 1986)

  (quoting 1 Anderson, Wharton’s Criminal Law and Procedure § 89 p. 191

  (1957)). Thus, Wharton’s Rule is “a narrow exception to the general principle

  that a conspiracy and its underlying substantive offense do not merge” and

  applies only “when there is a ‘general congruence of the [conspiracy] agreement

  and the completed substantive offense.’ ” United States v. Hines, 541 F.3d 833,

  838 (8th Cir. 2008) (quoting Iannelli v. United States, 420 U.S. 770, 781-82

  (1975)).



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        The Eighth Circuit has expressed doubt as to whether Wharton’s Rule

  applies to conspiracies under § 846. See Jones, 801 F.2d at 311 (quoting

  United States v. Bommarito, 524 F.2d 140, 144 (2d Cir. 1975)). If the Eighth

  Circuit had not so held, Wharton’s Rule still would not apply here, because the

  record indicates that more than two persons were involved in a conspiracy to

  distribute drugs. Id. Wharton’s Rule only applies if the government produces

  evidence that only two persons sold drugs to each other and there is no

  evidence of distribution to another person. That is not the scenario alleged

  here. Additionally, possession with intent to distribute does not require two

  participants for the completion of the substantive criminal act, so that method

  of proving the conspiracy charge would not implicate Wharton’s Rule. The

  court finds that counts II and III of the superseding indictment do not violate

  Wharton’s Rule.

        D.    Prejudicial Surplusage

        Gerald next contends that counts I, II, and III should be dismissed

  because they contain language in excess of that found in the statute. Docket

  217 at 3. Alternatively, Gerald asks the court to strike the surplus language

  from the superseding indictment. Specifically, Gerald takes issue with the

  phrases, “combine, . . . confederate and agree with . . . others,” “a Schedule II

  controlled substance,” “Cocaine, its salts, optical and geometric isomers and

  salts of its isomers,” and “a Schedule I controlled substance.”



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        “ ‘A motion to strike surplusage from an indictment . . . should only be

  granted where it is clear that the allegations contained therein are not relevant

  to the charge made or contain inflammatory and prejudicial matter.’ ” United

  States v. Michel-Galaviz, 415 F.3d 946, 948 (8th Cir. 2005) (alteration in

  original) (quoting Dranow v. United States, 307 F.2d 545, 558 (8th Cir. 1962)).1

  The Eighth Circuit has approved—in a slightly different context—use of the

  words “combined, conspired, confederated, and agreed” to set forth a

  conspiracy charge. See White, 241 F.3d at 1021. The other three phrases

  appear in statutory language. See 21 U.S.C. § 812 (establishing Schedule I and

  Schedule II); 21 U.S.C. § 841(b)(1)(B)(ii)(II) (setting out the penalty for a

  violation involving 500 grams or more of a mixture or substance containing a

  detectable amount of “cocaine, its salts, optical and geometric isomers, and

  salts of isomers”). Because the phrases used in the superseding indictment

  have either been approved by the Eighth Circuit or were taken from statutes

  written by Congress, Gerald has failed to show that the contested phrases are

  irrelevant or prejudicial. The motion to dismiss or to strike language from

  counts I, II, and III is denied.




        1 Gerald cites United States v. Oakar, 111 F.3d 146 (D.C. Cir. 1997), as

  authority supporting his position on the motion to strike. Docket 217 at 3. The
  Oakar court, however, reversed a district court’s decision to strike language
  because “[t]he district court made no finding that the stricken allegations were
  either irrelevant or prejudicial.” Oakar, 111 F.3d at 157.

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        E.    Vagueness

        Gerald argues that counts II and III2 of the superseding indictment are

  vague, overbroad, and violate the First Amendment. Docket 217 at 4. A

  superseding indictment is sufficient where “it contains all of the essential

  elements of the offense charged, fairly informs the defendant of the charges

  against which he must defend, and alleges sufficient information to allow a

  defendant to plead a conviction or acquittal as a bar to a subsequent

  prosecution.” Huggans, 650 F.3d at 1217. As discussed above, counts II and III

  of the superseding indictment fulfill those criteria and are thus not

  impermissibly vague.3

        F.    Unknown Quantities

        Gerald next argues that counts I and III of the superseding indictment

  should be dismissed because they contain no allegation as to the quantity of

  drugs charged. Docket 217 at 4-5. He relies on Apprendi v. New Jersey, 530

  U.S. 466 (2000), for the proposition that “[e]very fact, including quantities that

  increase a penalty must be set forth in the indictment, submitted to the jury,




        2 Gerald’s brief actually refers to “Counts II and II.” Docket 217 at 4. The

  court construes that statement as a typographical error meant to refer to
  counts II and III.

        3 The court will not address Gerald’s undeveloped due process and First

  Amendment arguments. The only authority cited by Gerald actually rejected
  the constitutional challenges to 21 U.S.C. § 846 and affirmed the defendant’s
  conviction. See United States v. Cooper, 606 F.2d 96 (5th Cir. 1979).
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  and found beyond a reasonable doubt.” Docket 217 at 4. Gerald also argues

  that “21 U.S.C. § 841(a)(1) and its penalty provisions are unconstitutional as

  well to the extent they deprive defendant of the right to have quantities

  determined by a jury beyond a reasonable doubt.” Id.

        Count I of the superseding indictment alleges that Gerald possessed with

  the intent to distribute a mixture or substance containing a detectable amount

  of cocaine, its salts, optical and geometric isomers, and salts of isomers in

  violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). A charge under 21 U.S.C.

  § 841(b)(1)(A) involves five kilograms or more of a mixture or substance

  containing cocaine, its salts, optical and geometric isomers, and salts of

  isomers and carries a mandatory minimum sentence of ten years and a

  maximum sentence of life in prison. A charge under 21 U.S.C. § 841(b)(1)(B)

  involves 500 grams or more and carries a mandatory minimum sentence of five

  years and a maximum sentence of 40 years in prison. By charging Gerald with

  a violation of § 841(b)(1)(C), the government has alleged an offense where it

  does not need to prove a minimum quantity, but the maximum penalty is

  limited to 20 years in prison with no mandatory minimum term. Based on the

  charge, Gerald has been advised of the quantity alleged by the government.

        Similarly, count III of the superseding indictment alleges that Gerald

  conspired to distribute or possess with the intent to distribute marihuana in




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  violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(D), and 846. A charge under 21

  U.S.C. § 841(b)(1)(D)4 involves less than 50 kilograms of marihuana and carries

  a maximum sentence of five years in prison. Because Gerald is charged under

  § 841(b)(1)(D), the government is not required to prove a minimum quantity

  and the superseding indictment informs Gerald of the quantity alleged by the

  government.

        Contrary to Gerald’s assertion, a specific quantity is not an element of

  the crime charged. See United States v. Rolon-Ramos, 502 F.3d 750, 754-55

  (8th Cir. 2007). At trial, the government would not have to introduce evidence

  of a specific quantity on counts I and III because quantity is not an aggravating

  factor on those counts.5 See, e.g., Alleyne v. United States, 133 S. Ct. 2151,

  2155 (2013) (holding that any fact which increases a mandatory minimum

  sentence is an element of the offense); United States v. Sheppard, 219 F.3d 766,

  768 (8th Cir. 2000) (stating that facts which increase the statutory maximum

  are elements of the offense). Thus, Gerald has no right to have a jury determine

  the exact quantity of drugs within the ranges defined by the superseding

  indictment. See United States v. Carpenter, 487 F.3d 623, 625 (8th Cir. 2007).




        4 A person charged with a drug conspiracy is subject to the same

  penalties prescribed for the offense which was the object of the conspiracy. 21
  U.S.C. § 846.

        5 Count II does allege a quantity that increases the maximum and

  mandatory minimum penalties.
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Gerald’s motion to dismiss counts I and III because of unknown quantities is

denied.

      G.     Venue and Jurisdiction

      Gerald next argues that counts II and III of the superseding indictment

should be dismissed because they improperly allege venue and jurisdiction.

Docket 217 at 5. Counts II and III both allege a conspiracy committed “in the

District of South Dakota and elsewhere[.]” Gerald argues that the phrase

necessarily includes crimes over which this court has no jurisdiction. Gerald

also requests that the government be prohibited from offering “evidence of any

conspiracy that was committed in some other state.” Docket 217 at 5.

      “[A]ny offense against the United States begun in one district and

completed in another, or committed in more than one district, may be inquired

of and prosecuted in any district in which such offense was begun, continued,

or completed.” 18 U.S.C. § 3237(a). Thus, this court has jurisdiction over any

crimes Gerald is alleged to have committed at least partially in the District of

South Dakota. Gerald’s motion to dismiss counts II and III for lack of

jurisdiction is denied.




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      H.    Pre-Indictment Delay

      Gerald next argues that counts II and III should be dismissed due to the

prejudice resulting from the government’s delay in indictment.6 Docket 217 at

5-6. To support dismissal on that basis, Gerald must show that the

government’s delay in indicting him actually and substantially prejudiced the

defense. See United States v. Sprouts, 282 F.3d 1037, 1041 (8th Cir. 2002);

United States v. McDougal, 133 F.3d 1110, 1113 (8th Cir. 1998). “To prove

actual prejudice the defendant must identify witnesses or documents lost

during the period of delay, and not merely make speculative or conclusory

claims of possible prejudice caused by the passage of time.” Sprouts, 282 F.3d

at 1041 (citing United States v. Sturdy, 207 F.3d 448, 451-52 (8th Cir. 2000)).

Gerald makes no showing of evidence lost due to delay or any other prejudice.

      At the end of his argument on pre-indictment delay, Gerald alleges that

“[t]he long pre-indictment delay can only be attributed to the government’s

desire to gain a tactical advantage in this action.” Docket 217 at 6.7 Gerald




      6 To the extent Gerald embeds a vagueness challenge in this argument,

that challenge is rejected. The court has already held the indictment is
sufficient to inform Gerald of the charges against him and allow him to prepare
his defense, and that the indictment is not impermissibly vague.

      7 In support of that position, Gerald directs the court to “Marion, supra”

but provides no other citation information. Presumably, Gerald refers to United
States v. Marion, 404 U.S. 307 (1971). In Marion, the Supreme Court rejected a
claim of delay because the claims were speculative and premature, and the
defendants were protected by the applicable statute of limitation. See id. at
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provides no support for this accusation. The Eighth Circuit has allowed

conspiracy prosecutions alleging much longer time frames than the four years

alleged in this case. See, e.g., Huggans, 650 F.3d at 1218 (upholding a

conspiracy conviction for the seven-year period between 2000 and 2007).

Gerald’s motion to dismiss counts II and III based on a delay in indictment is

denied.

      I.    Multiplicity

      Finally, Gerald argues that counts I, II, and III of the superseding

indictment are all part of the same conspiracy and charging them as three

counts instead of one subjects Gerald to multiple punishments for a single

offense. Docket 217 at 6. “An indictment is multiplicitous if it charges the same

crime in separate counts.” United States v. Platter, 514 F.3d 782, 785 (8th Cir.

2008) (citing United States v. Chipps, 410 F.3d 438, 447 (8th Cir. 2005)). “ ‘The

primary problem is that the jury can convict on both counts, resulting in two

punishments for the same crime in violation of the Double Jeopardy Clause of

the Fifth Amendment.’ ” Id. (quoting United States v. Ansaldi, 372 F.3d 118,

124 (2d Cir. 2004)).

      With respect to count I, “it is well established that the commission of a

substantive offense and a conspiracy to commit that offense are two separate

and distinct crimes.” United States v. Muza, 788 F.2d 1309, 1312 (8th Cir.




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1986) (internal quotation marks omitted). Thus, it is not multiplicitous to

charge Gerald with possession with the intent to distribute in count I and a

related conspiracy offense in count II.

      Count II charges a conspiracy to distribute cocaine, and count III charges

a conspiracy to distribute marihuana. In determining whether those alleged

offenses are really one conspiracy, the court “must examine ‘the totality of the

circumstances, including the time that the alleged conspiracies existed, the

identity of the coconspirators, the statutory offenses charged in the

indictments, the nature and scope of the activity charged, and the location of

each conspiracy’s events.’ ” United States v. Aguilera, 179 F.3d 604, 607 (8th

Cir. 1999) (quoting United States v. McDougal, 133 F.3d 1110, 1113 (8th Cir.

1998)). The burden is on the defendant to show that the charged offenses are

multiplicitous. Id.

      Here, Gerald has made no showing of multiplicity beyond a bare

assertion. The government has broad discretion in charging decisions,

including charging multiple theories in separate counts. See Platter, 514 F.3d

at 786-87. Also, the Eighth Circuit has ruled that “a defendant can be charged

with multiple offenses under” 21 U.S.C. § 841(a)(1) so long as the defendant is

not cumulatively punished. United States v. Mendoza, 902 F.2d 693, 696 (8th

Cir. 1990) (citing United States v. Palafox, 764 F.2d 558 (9th Cir. 1985)

(emphasis in original)). Whether separate criminal acts support cumulative

sentencing is a question of fact. Id. at 698. Thus, Gerald’s motion to dismiss
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counts I, II, and III of the superseding indictment based on multiplicity is

denied.

II.   Motion for Bill of Particulars

      Gerald filed a motion for a bill of particulars seeking disclosure of:

      1.     The names of those known witnesses to and the persons
             with whom it is alleged that Defendant committed the above
             three offenses.
      2.     The date and location when and where the Defendant is
             alleged to have committed subject offenses.
      3.     Methods of surveillance, evidence seized, statements made,
             alleged drug quantities involved and sources of information.

Docket 223 at 3. The government opposes the motion, arguing that the

superseding indictment is sufficient and that Gerald is using the request for a

bill of particulars to conduct discovery. Docket 238.

      “The court may direct the government to file a bill of particulars.” Fed. R.

Crim. P. 7(f). “ ‘The purpose of a bill of particulars is to inform the defendant of

the nature of a charge with sufficient precision to enable him to prepare for

trial and to avoid or minimize the danger of surprise at trial.’ ” Huggans, 650

F.3d at 1220 (quoting United States v. Livingstone, 576 F.3d 881, 883 (8th Cir.

2009)). A bill of particulars is not a discovery device or a means of acquiring

evidentiary detail. Id.

      Gerald’s argument in support of his position, in its entirety, states:

      The present superseding indictment fails to allow Mr. LeBeau to
      prepare for trial or to allow him to assert double jeopardy if he is
      convicted and the government brings other charges in South
      Dakota or elsewhere. Many potential witnesses have not been
      identified.
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      Mr. LeBeau has not received, nor does he anticipate receiving,
      sufficient information to allow him to discern where, when, what
      and with whom he did what is claimed in subject Indictment.

Docket 223 at 4. Those assertions provide no detail on how or why Gerald

believes he is unable to understand the nature of the charge against him,

prepare a defense, and avoid surprise at trial.

      Gerald seeks to compel the government to disclose the names of

witnesses and coconspirators. Those items are factual discovery. A bill of

particulars is not intended to supplement discovery. Huggans, 650 F.3d at

1220. Also, the government has already turned over extensive factual discovery

in this case. See Docket 238 at 2 (stating the United States has provided

approximately 2030 pages of discovery); Huggans, 650 F.3d at 1220 (allowing a

district court to consider the extent of discovery provided by the government

when considering a motion for a bill of particulars). The discovery provided is

sufficient to allow Gerald to prepare his defense and avoid surprise at trial,

particularly considering the fact that Gerald has not given any specific

justification for the extremely broad categories of information sought in his

requested bill of particulars.

      Gerald also seeks more information about the time frame and location of

the alleged conspiracies. The superseding indictment provides a date range and

general locations. The Eighth Circuit has found nearly identical language in

drug conspiracy cases sufficient to inform the defendant of the nature of the

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charge against him and prepare for trial. See Huggans, 650 F.3d at 1216

(reciting the language of indictment), 1217-18 (finding the indictment

sufficient), 1220 (upholding denial of the bill of particulars). Although the time

frame in this case is several years and the locations are not specific, they are

sufficient to inform Gerald of the charges against him and allow him to

adequately defend those charges.

       A defendant is entitled to “understand the nature of the charges, prepare

a defense, and avoid unfair surprise.” Id. at 1220. Based on the superseding

indictment and the discovery provided, Gerald can perform those functions.

Under Eighth Circuit precedent, Gerald is not entitled to a bill of particulars.

The motion requesting a bill of particulars (Docket 222) is denied.

III.   Motions to Sever

       Gerald contends that joinder of offenses and defendants in the

superseding indictment is improper under Rules 8(a) and 8(b), respectively,

and alternatively that severance is proper under Rule 14. Docket 229 (motion

to sever charges); Docket 232 (motion to sever defendants). The United States

opposes Gerald’s motions. Docket 241. “When a defendant moves for

severance, a district court must first determine whether joinder is proper under

[Rule] 8. Even if joinder is proper under that rule, the court still has discretion

to sever under Rule 14.” United States v. Ruiz, 412 F.3d 871, 886 (8th Cir.

2005).



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      A.     Misjoinder of Counts

      An indictment may charge a defendant with multiple offenses if the

offenses “are of the same or similar character, or are based on the same act or

transaction, or are connected with or constitute parts of a common scheme or

plan.” Fed. R. Crim. P. 8(a). Gerald argues that all four counts should be tried

separately because the counts are “disparate, dissimilar, and by and large are

not part of the same act or transaction.” Docket 231 at 1. Gerald also argues

that counts I and II are multiplicitous, id. at 2, that counts II and III are

duplicitous,8 and that the jury will be confused. Id. at 3.

      The Eighth Circuit has defined the same or similar character

requirement of Rule 8 as meaning “ ‘[n]early corresponding; resembling in

many respects; somewhat alike; having a general likeness.’ ” United States v.

Tyndall, 263 F.3d 848, 850 (8th Cir. 2001) (alteration in original) (quoting

United States v. Lindsey, 782 F.2d 116, 117 (8th Cir. 1986) (per curiam)).

Generally, joinder is appropriate when the charges refer to the same type of

offense, the conduct occurred over a relatively short period of time, and trial

will involve overlapping evidence. See Ruiz, 412 F.3d at 887 (citing United




      8 It is unclear which counts Gerald believes are duplicitous. The court

reads this motion in conjunction with Gerald’s prior motion to dismiss counts
II and III based on duplicity and assumes that Gerald’s reference to duplicitous
counts here also refers to counts II and III.
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States v. Boyd, 180 F.3d 967, 981 (8th Cir. 1999)); see also Tyndall, 263 F.3d

at 850 (referring to those three factors as the “prerequisites for joinder”).

      The court rejects Gerald’s argument that counts I and II are

multiplicitous. Muza, 788 F.2d at 1312 (“[I]t is well established that the

commission of a substantive offense and a conspiracy to commit that offense

are two separate and distinct crimes.”). The court also rejects Gerald’s

argument that counts II and III are duplicitous. Gerberding, 471 F.2d at 59

(“Where . . . the statute specifies two or more ways in which one offense may be

committed, all may be alleged in the conjunctive in one count of the

indictment, and proof of any one of the methods will sustain a conviction.”).

      Counts I, II, and III all refer to the same type of conduct. Gerald asserts

that the locations of the offenses vary and there is no evidentiary overlap. The

conspiracy offenses allegedly took place in multiple locations and the

government is not required to specify one location for each conspiracy.

Contrary to Gerald’s unsupported assertion, trial of each offense will involve

much of the same evidence as a trial of the other charged offenses, and

evidence of each charged offense would likely be admissible to show a common

plan, scheme, motive, or knowledge in the trial of another offense. See United

States v. Bowman, 602 F.2d 160, 163 (8th Cir. 1979) (“Where each offense

would be admissible to show an element of another offense in separate trials,

‘criminal propensity’ prejudice is in no way enlarged by joinder.”). Although the

conduct allegedly occurred over several years, it is all part of the same overall
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scheme. The counts are not so complex that a jury might be confused. See

United States v. Andrade, 788 F.2d 521, 530 (8th Cir. 1986) (describing the

complexity of a trial involving “only” 18 counts and 3 defendants as “minimal”).

      In count IV, Gerald is alleged to have “knowingly attempted to corruptly

persuade, and engage in misleading conduct . . . with the intent to influence,

delay, and prevent the testimony” of a potential witness in this case. Docket 56.

The alleged act of witness tampering was undertaken to hinder the prosecution

in the present case, an “act[] [which] would not have been necessary but for the

underlying offenses with which [the] defendants were charged.” United States v.

Grey Bear, 863 F.2d 572, 583 (8th Cir. 1988) (en banc).9 In Grey Bear, that

“close logical relationship between [the other] charges and the individual

count[] of witness tampering” demonstrated “that all of the offenses were part

of ‘the same series of acts’ under Rule 8(b).” Id. (internal citations omitted). In

this case, the alleged act of witness tampering is closely linked to the continued

concealment of the alleged conspiracies, and would not have been necessary

but for the conspiracies with which Gerald is charged. Thus, the court

concludes that count IV is sufficiently linked to the other counts in this case as




      9 In Grey Bear, the en banc court was equally divided, so the district

court’s finding of proper joinder was affirmed. Grey Bear, 863 F.2d at 573.
Thus, “the order affirming the district court by an equally divided en banc
court has no precedential value.” Id. Although Grey Bear is not precedential,
the court finds it has persuasive value here.
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required by Rule 8(a). See United States v. Jones, 880 F.2d 55, 60-61 (8th Cir.

1989) (noting that Rule 8(b) is more restrictive than Rule 8(a)).

      As the Eighth Circuit has observed, courts should construe the rules

liberally in favor of joinder of offenses charged together. See United States v.

Moyer, 313 F.3d 1082, 1085 (8th Cir. 2002) (extending rule favoring joinder of

defendants to a case joining six charges against one defendant). The four

counts against Gerald in the superseding indictment all arise from Gerald’s

alleged drug distribution operation. Counts I, II, and III are very similar in

character, and all counts are part of the same alleged common plan or course

of action.

      B.     Misjoinder of Defendants

      An indictment may charge two or more defendants “if they are alleged to

have participated in the same act or transaction, or in the same series of acts

or transactions, constituting an offense or offenses.” Fed. R. Crim. P. 8(b). “The

Rule is to be liberally construed in favor of joinder.” Jones, 880 F.2d at 62

(citations omitted). When the government charges multiple defendants with

multiple charges, “not every defendant joined must have participated in every

offense charged.”10 United States v. Delpit, 94 F.3d 1134, 1143 (8th Cir. 1996).




      10 The Eighth Circuit has noted that in cases where both defendants and

offenses are joined, the more restrictive language in Rule 8(b) should provide
the standard. See Jones, 880 F.2d at 60-61. This is not a case where different
defendants are charged with unrelated offenses of similar character. See id. at
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      Gerald asserts that “[t]here is no common activity involving [Gerald and

Neil.]” See Docket 233 at 2. Even a cursory reading of the superseding

indictment reveals that Gerald’s argument is plainly meritless. Gerald and Neil

are indicted as coconspirators. The superseding indictment clearly alleges

common activity and joint participation in a common series of acts or

transactions.

      The court previously ruled that Gerald and Neil were properly joined as

defendants in this case. Docket 93. Gerald presents no new authorities or

arguments that persuade the court to reconsider its previous determination.

This is not one of the rare cases where jointly charged coconspirators should be

tried separately. See United States v. Frazier, 280 F.3d 835, 844 (8th Cir. 2002)

(We have said many times that it will be the rare case, if ever, where a district

court should sever the trial of alleged coconspirators.”).

      C.    Severance

      If joinder is proper, a defendant seeking severance under Rule 14 must

show prejudice would result from proceeding with a joint trial. Fed. R. Crim. P.

14(a); see also United States v. Sanchez-Garcia, 685 F.3d 745, 754 (8th Cir.

2012). “The prejudice must be ‘real,’ that is, ‘something more than the mere




61 (citing Cupo v. United States, 359 F.2d 990 (D.C. Cir. 1966)). Because the
two charges against Neil are also asserted against Gerald, joinder of all
defendants and all charges is proper here under the standard laid out in either
Rule 8(a) or 8(b).
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fact that he would have had a better chance for acquittal had he been tried

separately.’ ” United States v. Elder, 682 F.3d 1065, 1074 (8th Cir. 2012)

(quoting United States v. Mickelson, 378 F.3d 810, 817–18 (8th Cir. 2004)).

Severance should be granted “only if there is a serious risk that a joint trial

would compromise a specific trial right of one of the defendants, or prevent the

jury from making a reliable judgment about guilt or innocence.” Zafiro v. United

States, 506 U.S. 534, 539 (1993). The Eighth Circuit has elaborated that, in

order to demonstrate prejudice under Rule 14, a defendant must show “that ‘(a)

his defense is irreconcilable with that of his co-defendant or (b) the jury will be

unable to compartmentalize the evidence as it relates to the separate

defendants.’ ” Sanchez-Garcia, 685 F.3d at 754 (quoting United States v. Davis,

534 F.3d 903, 916-17 (8th Cir. 2006)). “Generally, the risk that a joint trial will

prejudice one or more of the defendants ‘is best cured by careful and thorough

jury instructions.’ ” Davis, 534 F.3d at 917 (quoting Mickelson, 378 F.3d at

818). “The burden of showing a clear likelihood of prejudice falls on the party

seeking severance.” United States v. Hively, 437 F.3d 752, 765 (8th Cir. 2006)

(citing Frazier, 280 F.3d at 844).

      Gerald argues that he and Neil will present “different and inconsistent”

defenses. Docket 233 at 2. Defenses are irreconcilable only when “the jury, in

order to believe the core of one defense, must necessarily disbelieve the core of

the other.” Jones, 880 F.2d at 63 (internal quotation omitted). Gerald’s bare

assertion that his defense conflicts with Neil’s defense is insufficient to show
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that the defenses are actually irreconcilable. See United States v. Davis, 882

F.2d 1334, 1341 (8th Cir. 1989) (internal citations and quotations omitted)

(“Davis at least must show that the defenses were irreconcilable. He makes no

such showing. All he offers in support of his claim is the bare assertion that

conflicting defenses existed. The mere existence of generally antagonistic

defenses does not require severance, and Davis’s assertion standing alone does

not affirmatively demonstrate any prejudice requiring reversal.”). The Eighth

Circuit has held that “ ‘[t]he mere fact that one defendant tries to shift blame to

another defendant does not mandate separate trials.’ ” United States v. Shivers,

66 F.3d 938, 940 (8th Cir. 1995) (alteration in original) (quoting United States

v. Johnson, 944 F.2d 396, 403 (8th Cir. 1991)).

      Gerald argues that in a separate trial he would be able to comment on

Neil’s silence. Docket 233 at 2. Notably, Gerald does not argue that a separate

trial would allow him to call Neil to offer exculpatory evidence. Gerald’s

argument is speculative because he provides no information that Neil will

exercise his right to remain silent in this case or that Neil would actually

remain silent if they were tried separately. Neil could offer testimony that

incriminates Gerald regardless of whether their trials are severed. In a joint

trial, Gerald will still be able to comment on the prosecution’s proof and ask

the jury to “consider [a] lack of evidence[.]” See id. Gerald has failed to show

how the inability to comment on Neil’s silence prejudices his defense.



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      In its previous ruling that severance was not appropriate in this case, the

court considered the remaining arguments now raised by Gerald, namely,

whether coconspirator statements violate the Confrontation Clause and the

possibility of guilt by association. The court rejected those arguments when

they were made by Neil. Docket 93. Gerald has provided no new arguments or

authorities suggesting reconsideration is appropriate, nor has Gerald shown

prejudice sufficient to overcome the presumption that jointly charged

codefendants should be tried together. See Davis, 534 F.3d at 916.

IV.   Motion to Dismiss

      Gerald previously brought a motion to dismiss the superseding

indictment based on a due process violation under Brady v. Maryland, 373

U.S. 83 (1963). The court denied that motion on June 16, 2015. Docket 252.

On June 23, 2015, Gerald filed a supplemental motion to dismiss based on the

government’s failure to produce the same hotel video footage at issue in the

first motion. Docket 290 (motion); Docket 291 (memorandum in support of

motion).

      In his brief, Gerald reiterates the arguments already considered by the

court. Compare Docket 152 (original supporting brief) with Docket 291

(supplemental supporting brief). Gerald cites to the court’s order denying his

original motion to dismiss based on a Brady violation, but he presents no

argument as to why the court should reconsider its earlier ruling. Gerald

provides a self-titled “factual proffer” for what the video will allegedly show, but
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does not provide a single citation, affidavit, evidentiary support, or even

information suggesting he has seen the video he is claiming to describe. Docket

291 at 1-2. In the absence of any articulable ground to reconsider its previous

ruling, the court will not revisit this issue. Gerald’s supplemental motion to

dismiss (Docket 290) is denied for the reasons the court previously stated.

                                   CONCLUSION

      Gerald has not shown a basis for dismissing any counts of the

superseding indictment. Gerald has also not shown that he needs a bill of

particulars to prepare his defense or avoid a surprise at trial. Nor has he

shown that the superseding indictment improperly joined counts or

defendants, or that prejudice sufficient to justify separate trials will result.

Accordingly, it is

      ORDERED that Gerald LeBeau’s motion to dismiss counts I, II, and III, or

alternatively to strike language from those counts (Docket 216) is denied.

      IT IS FURTHER ORDERED that Gerald LeBeau’s motion for a bill of

particulars (Docket 222) is denied.

      IT IS FURTHER ORDERED that Gerald LeBeau’s motion to sever charges

(Docket 229) is denied.

      IT IS FURTHER ORDERED that Gerald LeBeau’s motion to sever

defendants (Docket 232) is denied.




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      IT IS FURTHER ORDERED that Gerald LeBeau’s supplemental motion to

dismiss the superseding indictment (Docket 290) is denied.

      Dated June 24, 2015.

                                    BY THE COURT:


                                    /s/Karen E. Schreier
                                    KAREN E. SCHREIER
                                    UNITED STATES DISTRICT JUDGE




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